  Case 3:24-mj-00089-JLB Document 1 Filed 01/11/24 PageID.40 Page 1 of 16



                  ORDERED UNSEALED on 01/11/2024 s/ dominicfrank   SEALED
                                                                    s/ dominicfrank

                                       UNITED STATES DISTRICT COURT

                                 SOUTHERN DISTRICT OF CALIFORNI



                              ARREST ON OUT-OF-DISTRICT OFFEN E

                                         CASE NUMBER:                   24mj0089-JLB
       The person charged as Jenna McGrath now appears before this                                  ited States District Court

for an initial appearance as a result of the following charges having bee filed in the United States

District Court for the District of Columbia with: Entering or Remaining n any Restricted Building

or Grounds Without Lawful Authority, in violation of 18 U.S.C. § 752(a)(l); Disorderly or

Disruptive Conduct in a Restricted Building or Grounds, in violation f 18 U.S.C. § 1752(a)(2);

Disorderly or Disruptive Conduct in a Capitol Building, in violation of O U.S.C. § 5104(e)(2)(D);

and Parading, Picketing, or Demonstrating, in a Capitol Building, in violation of 40 U.S.C. §

5104(e)(2)(G).

       The charging documents and warrant for the arrest of the defen ant which was issued by

the above United States District Court are attached hereto.

       I hereby swear under penalty of perjury that the foregoing is tru and correct to the best of

my knowledge, information, and belief.
       DATED: 01/11 /.2-v(
               I 7

                                                                                  drew Schalin
Reviewed and Approved                                                           Special Agent, FB
D•
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RONALI}"S'°OU
Assistant United States Attorney
   Case 3:24-mj-00089-JLB Document 1 Filed 01/11/24 PageID.41 Page 2 of 16




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                        Case: 1:23- mj- 00347
 UNITED STATES OF AMERICA                          :    CASE    NO.
                                                        As:signed To : Harvey, G. Mich ae
                                                   :    As:sign. Date : 12/1212023
            v.                                     :    Descriptioin: COM PLAINT WIAR RIEST WARRA T
                                                   :    VIOLATIONS:
 ADAM KOVSKY,                                      :    18 U.S.C. § 1752(a)(1)
 JENNA MCGRATH, and                                :    (Entering and Remaining in a Restricted
 LAURA MCGRATH,                                    :    Building or Grounds)
           Defendants.                             :    18 U.S.C. § 1752(a)(2)
                                                   :    (Disorderly and Disruptive Conduct in a
                                                   :    Restricted Building or Grounds)
                                                   :    40 U.S.C. § 5104(e)(2)(D)
                                                   :    (Disorderly Conduct in
                                                   :    a Capitol Building)
                                                   :    40 U.S.C. § 5104(e)(2)(G)
                                                   :    (Parading, Picketing or Demonstrating in
                                                   :    a Capitol Building)

                                              ORDER

       This matter having come before the Court pursuant to the Application of the United States
to seal the criminal complaint, the Court finds that, because of such reasonable grounds to believe
the disclosure will result in flight from prosecution, destruction of or tampering with evidence,
intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has
established that a compelling governmental interest exists to justify the requested sealing.
       1.        IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that
the affidavit in support of criminal complaint and other related materials, the instant application to
seal, and this Order are sealed until the arrest warrants are executed.
       2.        IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the
public docket of the arrest warrants until they are executed.
                                                                Digitally signed by G.
                                              G. Michael        Michael Harvey
                                                                Date: 2023.12.12 13:32:24
Date:'HFHPEHU                       Harvey
                                              ___________________________________
                                                                -05'00'
                                               HONORABLE *0,&+$(/+$59(<
                                               UNITED STATES MAGISTRATE JUDGE



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             Case 3:24-mj-00089-JLB Document 1 Filed 01/11/24 PageID.42 Page 3 of 16
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                  United States of America                          )
                             v.                                     )      Case: 1:.23- mj - O0347
                                                                    )      Assigned
                                                                           Case No. o : Harivey, G. ich aei
                    Adam Kovsky                                     )      Assigni. Date : 112/1212023
                   Jenna McGrath                                    )      DescripU0111 : COM PLAINT WIARREST WARRANT
                   Laura McGrath                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                                  in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
            Code Section                                                      Offense Description
        18 U.S.C. § 1752(a)(1) Entering or Remaining in any Restricted Building or Grounds Without Lawful
        Authority,
        18 U.S.C. § 1752(a)(2) Disorderly or Disruptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) Disorderly or Disruptive Conduct in a Capitol Building,
        40 U.S.C. § 5104(e)(2)(G) Parading, Picketing, or Demonstrating in a Capitol Building.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                              Issuing Officer’s signature

                                                                                     Mara R. Schneider, Special Agent
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             12/12/2023
                                                                                              Complaintant’s signature

City and state:                         :DVKLQJWRQ'&                     Honorable G. Michael Harvey
                                                                                               United States Magistrate
                                           Case: 1:23-PageID.43
   Case 3:24-mj-00089-JLB Document 1 Filed 01/11/24     mj- 00347 Page 4 of 16
                                           Assigned To : Harvey, G. Michael
                                           Assign. Date : 12/1 2/2023
                                           Description: COM PLAINT W/ARREST WARRANT

                                   STATEMENT OF FACTS

        Your affiant, Mara R. Schneider, is a Special Agent assigned to the FBI Detroit Field
Office, Ann Arbor Resident Agency. In my duties as a special agent, I am responsible for
investigating Domestic Terrorism (“DT”) cases (including Racially Motivated Violent Extremism,
Anti-Government Extremism, Anarchist Extremism, and Militia Exremism), as well as DT Threat
Assessments, Threat to Life matters, and Hate Crimes. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a special agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        These persons included: (1) a white male, wearing a dark gray hoodie layered over a red
hoodie, believed to be ADAM KOVSKY (“KOVSKY”); (2) a white female with brown hair,
wearing a knee-length, black winter jacket with a hood-lined with fur, believed to be JENNA
MCGRATH; and (3) a white female with shoulder-length blonde hair, wearing jeans, a black,
waist-length black jacket, and a gray beanie, believed to be LAURA MCGRATH, collectively
referred to as “the subjects.”

       KOVSKY is a resident of Michigan. JENNA MCGRATH and LAURA MCGRATH
previously resided in Michigan but now reside in California and Georgia, respectively. The three
subjects know each other through a former employer in Michigan. LAURA and JENNA
MCGRATH are sisters.




                                                LAURA
                                               McGRATH



                                KOVSKY                          JENNA
                                                               McGRATH




   Image 1: Screenshot from an open source video depicting KOVSKY, L. MCGRATH, J.
MCGRATH (from left to right) standing in the vicinity of the Washington monument on January
                                          6, 2021

        In August 2021, the FBI received two separate tips from two individuals whose identities
are known to the FBI that the tipsters had heard from friends that ADAM KOVSKY had
participated in the January 6 riot at the Capitol. One tipster, Witness 1, shared that other friends of
KOVSKY had seen him in publicized videos from the riot; the other, Witness 2, shared that
KOVSKY himself had social media pictures of himself at the riot that he had shown other people.



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       In February 2022, the FBI interviewed a third individual, Witness 3, who was personally
familiar with KOVSKY who positively identified KOVSKY in three photographs: Image 10,
below, showing KOVSKY inside the Capitol Building near the Senate Wing Door; Image 12,
below, showing KOVSKY posing for a photograph that was ultimately posted to social media; and
a similar screenshot from the same open source video as Image 1, above, showing KOVSKY
standing near the Washington Monument on January 6, 2021.

       In March 2022, the FBI interviewed a fourth individual, Witness 4, who is personally
familiar with KOVSKY and the MCGRATHS. Witness 4 identified KOVSKY in the same three
photographs as Witness 3. In addition, Witness 4 identified JENNA MCGRATH as the brunette
woman in a screenshot from the same open source video as Image 1, and identified the blonde
woman as JENNA MCGRATH’s sister.

        In April 2022, the FBI interviewed a fifth individual, Witness 5, who is personally familiar
with KOVSKY and JENNA MCGRATH. Witness 5 stated that they learned KOVSKY went to
the U.S. Capitol on January 6 when JENNA MCGRATH posted about it on Instagram. Witness 5
had not spoken directly with KOVSKY about travelling to Washington, D.C., but had heard
through other associates of KOVSKY that KOVSKY, JENNA MCGRATH, her sister, and a fourth
individual had driven to Washington, D.C. together on January 6, 2021. Witness 5 identified
KOVSKY in the same three photographs that Witnesses 3 and 4 had (Images 10, 12, and a similar
screenshot from the same video as Image 1). In addition, Witness 5 identified JENNA MCGRATH
in a similar screenshot from the same video as Image 1.

        Open source footage from January 6 show KOVSKY, JENNA MCGRATH, and LAURA
MCGRATH present on the National Mall, with the Washington Monument in the background. See
Image 1. Open source video footage shows KOVSKY in the amassing crowd on the west front of
the Capitol. See Image 2. An open source image later shows KOVSKY and JENNA MCGRATH
on the Northwest Stairs of the U.S. Capitol Building, which lead from the West Plaza to the Lower
West Terrace. KOVSKY and JENNA MCGRATH appear to be assisting LAURA MCGRATH to
scale the bannister of the staircase. See Images 3 and 4.




                                                 3
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   Image 2: Screenshot from open source video footage showing KOVSKY (circled in white)
            chanting and clapping with the crowd on the west front of the Capitol




 Image 3: Open source image showing KOVSKY and J. MCGRATH ASSISTING L. MCGRATH
over a bannister on the west side of the Capitol Building (all three subjects are highlighted by a
                      white box; the subjects’ faces are circled in yellow)

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Image 4: Zoomed in and cropped version of Image 2 above, showing KOVSKY on the Northwest
 Stairs of the Capiol and JENNA MCGRATH assisting LAURA MCGRATH over the bannister

       The U.S. Capitol Police (“USCP”) maintains a system of surveillance cameras (“CCTV”)
throughout the U.S. Capitol Building and in and around its perimeter. CCTV recordings from
January 6, 2021 show KOVSKY entering the building through a window next to the Senate Wing
Door at approximately 3:26 p.m. See Image 5. A few frames later, CCTV shows JENNA
MCGRATH and LAURA MCGRATH entering through the Senate Wing Door. See Image 6.

       Later, open source footage show KOVSKY, JENNA MCGRATH, and LAURA
MCGRATH exiting the building through the same door. See Image 7 (LAURA MCGRATH),
Image 8 (JENNA MCGRATH), Images 9 and 10 (KOVSKY).




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 Image 5: Screenshot of CCTV showing KOVSKY (circled in red) entering the Capitol Building
                   through a broken window next to the Senate Wing Door




Image 6: Screenshot of CCTV showing L. and J. MCGRATH (circled in red) entering the Capitol
                          Building through the Senate Wing Door


                                            6
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Images 7 and 8: L. MCGRATH (circled) and J. MCGRATH (boxed) exiting the Capitol Building




                    Images 9 and 10: KOVSKY exiting the Capitol Building

       After exiting the building, the three subjects remained on the Upper West Terrace of the
Capitol and joined the amassed crowd in chanting “Our house, our house!” See Image 11.




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Image 11: KOVSKY, J. MCGRATH, and L. MCGRATH (all highlighted in the white box) on the
           Upper West Terrace while the crowd chants “Our house, our house!”

       Social media posts from January 6, 2021 also depict the three subjects on the Grounds of
the U.S. Capitol. See Images 12 and 13.




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 Image 12: Social media post depicting KOVSKY           Image 13: Social media post depicting L.
 posing with pieces of wood from broken furniture       MCGRATH, KOVSKY, and J. MCGRATH (left
 from inside the U.S. Capitol Building                  to right) speaking to another individual on the
                                                        Grounds of the U.S. Capitol


        In June 2022, the FBI interviewed KOVSKY with his lawyer present. KOVSKY reported
that he planned to travel to Washington, D.C. to see former President Trump’s speech. He travelled
to the Capitol with JENNA MCGRATH, LAURA MCGRATH, and a fourth individual by car on
January 5, 2021. They attended the former President’s speech at the ellipse. Following the speech,
KOVSKY, JENNA MCGRATH, and LAURA MCGRATH walked to the Capitol Building.
KOVSKY identified himself, JENNA MCGRATH, and LAURA MCGRATH in a similar
screenshot from the same video as Image 1, above. KOVSKY also identified himself, LAURA
MCGRATH, and JENNA MCGRATH in Images 3 and 4, above. In addition, KOVSKY identified
himself, LAURA MCGRATH, and JENNA MCGRATH in USCP CCTV showing the three
subjects entering the Capitol Building. He further identified himself and LAURA MCGRATH in
the same video from which Image 11, above, was derived.
      In January 2023, the FBI interviewed JENNA MCGRATH. MCGRATH reported that she,
KOVSKY, and her sister LAURA MCGRATH travelled to the Capitol to see former President
Trump speak and to protest for a free and fair election. They attended the former President’s speech

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at the ellipse. At approximately 2:00 p.m., they walked to Capitol Building and entered the
building. JENNA MCGRATH confirmed that she and LAURA MCGRATH entered the building
through a doorway while KOVSKY entered through a broken window. JENNA MCGRATH
identified herself, her sister LAURA MCGRATH, and KOVSKY in photogaphs from inside the
Capitol Building, near the Senate Wing Door. JENNA MCGRATH further confirmed that she
wore the same black jacket she wore on January 6, 2021 to the interview with FBI agents in January
2023.




                                               10
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                                            Conclusion

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ADAM KOVSKY, JENNA MCGRATH, and LAURA MCGRATH violated 18 U.S.C.
§§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that ADAM KOVSKY,
JENNA MCGRATH, and LAURA MCGRATH violated 40 U.S.C. §§ 5104(e)(2)(D) and (G),
which makes it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language,
or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.



                                                       _________________________________
                                                       Mara R. Schneider
                                                       Special Agent
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of December 2023.

                                                                        Digitally signed by G. Michael
                                              G. Michael Harvey Harvey
                                                                Date: 2023.12.12 13:29:07 -05'00'

                                               ___________________________________
                                               HONORABLE *0,&+$(/+$59(<
                                               UNITED STATES MAGISTRATE JUDGE




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               Case 3:24-mj-00089-JLB Document 1 Filed 01/11/24 PageID.54 Page 15 of 16

AO 442 (Rev. 11 / 11) Arrest Warrant



                                           UNITED STATES DISTRICT COURT
                                                                     for the

                                                            District of Columbia

                   United States of America
                                                                               Case: 1:23-mj-00347
                                  V.                                   )
                                                                               Assigned To : Harvey, G. Michael
                                                                       )       Assign . Date : 12/1 2/2023
                         Jenna McGrath
                                                                       )       Description: COMPLAINT W/ARREST WARRANT
                                                                       )
                                                                       )
                                                                       )
                              Def endant


                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person lo be arrested)                                     Jenna McGrath
who is accused of an offense or violation based on the following document filed with the court:

0     Indictment           O Superseding Indictment           O Information        O Superseding Information              N Complaint
0     Probation Violation Petition            O Supervised Release Violation Petition         O Violation Notice          O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § I 752(a)(I) Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority ;
18 U.S.C. § I 752(a)(2) Disorderly or Disruptive Conduct in a Restricted Building or Grounds ;
40 U.S .C. § 5104(e)(2)(D) Disorderly or Disruptive Conduct in a Capitol Building ;
40 U.S.C. § 5104(e)(2)(G) Parading, Picketing, or Demonstrating in a Capitol Building.
                                                                                                              Digitally signed by G. Michael
                                                                           G. Michael Harvey Harvey
                                                                                                             Date: 2023.12.12 13:33:37 -05'00'
Date: - - ~' 2~/~l2=/2=0=2=3__
                                                                                               Issuing officer 's signature

City and state:                        Washin ton D.C.                               Honorable G. Michael Harve
                                                                                                 U.S. Magistrale Judge


                                                                    Return

           This warrant was received on (dale)       I :2--/ 2 1/ / .2.3   , and the person was arrested on (da te)
at (cily and slale)


Date:    CJ/ /j IQ __,'f_
                                                                           ~~               ' ,,,.,,;ng nffiw ., -si-gn-a-tu-re_ _ _ _ _ __



                                                                                                 Prinled name and title
                Case 3:24-mj-00089-JLB Document 1 Filed 01/11/24 PageID.55 Page 16 of 16
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                         (Not for Public Disclosure)

Name of defendant/offender: Jenna McGrath
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:           er:


Height:                                                                  Weight:
Sex:                                                                     Race:
Hair:                                                                    Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency                         Federal Bureau of Investigation

,QYHVWLJDWLYHDJHQF\DGGUHVV
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
